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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,

                                                        DECISION AND ORDER
             v.                                            00-CR-0053A

JOHN FERBY,

                                 Defendant.




                                  INTRODUCTION

             Currently before the Court is a motion by the defendant, John Ferby,

for resentencing. For the reasons stated, the motion is denied.




                                  BACKGROUND

             Defendant Ferby, a former City of Buffalo police officer, was indicted

with five other defendants in a multi-count indictment. Ferby was charged with

conspiracy to violate civil rights, conspiracy to commit theft or conversion of

government property, theft or conversion of government property, conspiracy to

commit robbery and extortion under color of official right (Hobbs Act conspiracy),

attempted robbery and extortion under color of official right (Hobbs Act

substantive violation), possession of a firearm in furtherance of a crime of



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violence, and unlawful access of a government computer in furtherance of a

crime. The jury found Ferby guilty of one count of theft of government property

in violation of 18 U.S.C. § 641, but acquitted him of all other charges.

             On August 2, 2002, this Court sentenced defendant Ferby to a term

of imprisonment of 41 months, to be followed by 2 years of supervised release.

In sentencing the defendant, the Court found that the base offense level for

Ferby’s offense of conviction was 4. The Court applied the following upward

adjustments: (1) a six-level upward adjustment pursuant to United States

Sentencing Guidelines (“U.S.S.G.”) § 2B1.1(b)(1)(G) as the loss exceed

$20,000; (2) a two-level upward adjustment pursuant to U.S.S.G. §

2B1.1(b)(4)(A) as the offense involved more than minimal planning; (3) a two-

level upward adjustment pursuant to U.S.S.G. § 3A1.3 because the undercover

agent victim was physically restrained during the course of the offense; and (4) a

two-level upward adjustment pursuant to U.S.S.G. § 3B1.3,because the

defendant abused a position of public trust. The Court denied an acceptance of

responsibility adjustment and found that the defendant’s adjusted offense level

was 16, his criminal history category was I, and his Sentencing Guidelines range

was 21 to 27 months.

             The Court then determined that the applicable Guidelines range of

21 to 27 months was insufficient given the extent of defendant Ferby’s criminal

conduct. Accordingly, pursuant to U.S.S.G. § 5K2.0, the Court applied a

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discretionary upward departure of four levels upon finding by clear and

convincing evidence that the defendant had engaged in other acts of

misconduct for which he had been acquitted. Of particular significance, the

Court found that the defendant had been part of a conspiracy to violate civil

rights, as charged in Count 1 of the Indictment, and imposed the sentence that

the defendant would have received had he been convicted of that crime. The

sentence imposed (41 months) was well below the ten-year statutory maximum

sentence for the defendant’s offense of conviction.

             The defendant appealed his conviction and sentence to the United

States Court of Appeals for the Second Circuit. The Second Circuit initially

affirmed the conviction and sentence by Summary Order on September 3, 2004.

However, on March 25, 2005, the Second Circuit remanded this case to this

Court in light of the United States Supreme Court’s decision in United States v.

Booker, 125 S. Ct. 738 (2005), and the Circuit’s decision United States v.

Crosby, 397 F.3d 103 (2d Cir. 2005).

             On April 8, 2005, defendant Ferby moved for resentencing under

Crosby. On May 10, 2005, the government filed a response. The Court heard

oral argument on May 20, 2005.




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                                          DISCUSSION

I.     Resentencing Not Required

               As noted above, the Second Circuit remanded this matter for further

proceedings in light of Booker and Crosby, “on the sole issue of [the

defendant’s] Sixth Amendment challenge” to his sentence and “for further

proceedings in light of Crosby.”

               The Supreme Court's decision in Booker significantly altered the

sentencing regime that had existed since the United States Sentencing

Guidelines became effective on November 1, 1987. The Court's two-part

decision consists of a “substantive opinion” by Justice Stevens and a “remedy

opinion” by Justice Breyer. In the substantive opinion, the Supreme Court held

that the rule announced in Apprendi v. New Jersey, 530 U.S. 466 (2000),1

applied to the Sentencing Guidelines. That is, the Court held that the mandatory

application of sentencing enhancements based upon findings by a judge (not a

jury) violated a defendant’s Sixth Amendment right to a jury trial. Booker, 125 S.

Ct. at 756. In the second part of the decision, the “remedy opinion” authored by

Justice Breyer, the Court held that the Sixth Amendment violation could be

“remedied” by severing the statutory provisions that made the Sentencing


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          In Apprendi, the Supreme Court held that any fact (other than a prior conviction) which
is necessary to support a sentence exceeding the maximum authorized by the facts established
by a plea of guilty or a jury verdict must be admitted by the defendant or proved to a jury beyond
a reasonable doubt.

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Guidelines mandatory. Id., at 764. As a result, the Guidelines were rendered

“effectively advisory,” Booker, 125 S. Ct. 757, although district courts were

instructed to still consider the applicable Guidelines along with the other factors

listed in 18 U.S.C. § 3553(a). See Crosby, 397 F.3d at 111.

             In Crosby, the Circuit Court found that remand to the district court

was “generally appropriate” in the aftermath of Booker, so that the sentencing

court could consider whether to resentence the defendant under the new

advisory sentencing regime. The court emphasized that remand was being

conducted:

             not for the purpose of a required resentencing, but only
             for the more limited purpose of permitting the
             sentencing judge to determine whether to resentence,
             now fully informed of the new sentencing regime, and if
             so, to resentence.

Crosby, 397 F.3d at 117 (emphasis in original); see also United States v.

Rubenstein, 403 F.3d 93, 98 (2d Cir. 2005) (“Ordinarily, post-Booker, we would

remand for the district court to consider whether the original sentence – imposed

pre-Booker on the then-valid mandate of the Guidelines – would have been

different if the district judge had appreciated his discretion to frame the sentence

based on the fact that the Guidelines are advisory.”).

             Thus, the issue currently before the Court is “whether a materially

different sentence would have been imposed” had the Booker standards been in

effect at the time that Ferby was originally sentenced. See United States v.

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W illiams, 399 F.3d 450, 460 (2d Cir. 2005). If the answer to this question is yes,

then a resentencing of the defendant is appropriate. However, if the answer is

no, then resentencing is not required and the Court need only place on the

record its “decision not to resentence, with an appropriate explanation.” Crosby,

397 F.3d at 120.

             The Court finds that resentencing is not required in this case

because the same sentence would have been imposed even if the Guidelines

had been merely advisory at that time, and after giving careful consideration to

the factors set forth in 18 U.S.C. § 3553(a). In fact, the Court did not impose a

sentence within the applicable Guidelines range at sentencing because it

believed that Sentencing Guidelines range (21 to 27 months) was too lenient

given the circumstances of the case and the extent of defendant Ferby’s criminal

conduct. As stated above, the Court applied a four-level upward departure

under U.S.S.G. § 5K2.0 and imposed a sentence above the applicable

Guidelines range upon finding that defendant Ferby had engaged in acts of

misconduct for which he was acquitted.

             The defendant argues that as a result of the Supreme Court’s

decision in Booker, this Court is no longer able to consider acquitted conduct in

determining a defendant’s sentence. For the reasons stated in Part II below, the

Court rejects this argument and finds that acquitted conduct may be considered

by a sentencing judge post-Booker.

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             In any event, even if the Court were not to consider defendant

Ferby’s acquitted conduct, the sentence imposed would be the same. In other

words, even if the Court had known that the Guidelines were merely advisory at

the time that defendant Ferby was sentenced, the Court would have imposed

the same sentence. Putting aside acquitted conduct, there were aggravating

factors in this case that were not considered by the applicable Guidelines range.

Had the Court been aware that it was not bound by the applicable Guidelines

range at the time of Ferby’s original sentence, the Court would have given

greater weight to other factors set forth is 18 U.S.C. § 3553(a), including the

history and characteristics of the defendant, the need for a greater sentence to

reflect the seriousness of the offense and promote respect for the law, and the

need for deterrence.

             Defendant Ferby was a Buffalo Police Officer who committed the

offense of conviction while acting under color of state law. In doing so, he

violated his solemn vow to uphold the law and broke the very laws that he was

sworn to protect. He took advantage of his position as a police officer to commit

the instant offense and in doing so, he abused the trust that was placed in him

by the public. Not only did the defendant’s conduct bring shame on himself, but

the actions of Ferby and his codefendants damaged the public’s trust in the

entire Buffalo Police Department. Where – as in this case – a crime was

committed by a police officer purporting to act with official authority, the Court

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believes a much harsher sentence was required to serve the overall sentencing

objectives of punishment and deterrence. In sum, after considering the holdings

of Booker and Crosby, and the factors set forth in 18 U.S.C. § 3553(a), the Court

finds that the sentence imposed would have been the same even if the Court

had known that the Guidelines were merely advisory and had not considered the

defendant’s acquitted conduct. The sentence imposed was reasonable,

necessary and appropriate to reflect the seriousness of the defendant’s offense,

to promote respect for the law, to protect the public from further crimes and

afford adequate deterrence.




II.     Acquitted Conduct

              Defendant Ferby argues that resentencing is required because, as a

result of Booker, it was error for this Court to have considered acquitted conduct

during his original sentence. The Court rejects this argument.

              Prior to Booker, it was well-established that acquitted conduct could

be considered at sentencing. In United States v. Watts, 519 U.S. 148 (1994),

the Supreme Court held that it was permissible for the sentencing court to

consider conduct for which the defendant had been acquitted in determining the

defendant’s sentence, as long as the acquitted conduct was proved by a




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preponderance of the evidence.2

                The defendant argues that, following Booker, Watts is no longer

viable case law and a judge is prohibited from considering acquitted conduct at

sentencing. Alternatively, the defendant argues the Court is required to apply a

“reasonable doubt” standard of proof.

                In a recent decision, the Second Circuit declined to resolve the

issue of “whether or not Watts fully survives Booker.” See Williams, 399 F.3d at

454. Therefore, the issue of whether a court may consider acquitted conduct at

sentencing remains an open question in this Circuit. Nevertheless, the Court

notes that Watts has not been expressly overturned by the Supreme Court and

until it is, this Court is bound to follow it.

                The only Circuit Court to address this issue since Booker has

concluded that “it was not error for the sentencing judge to find a fact that had

been acquitted by the jury when determining [the defendant’s] sentence.” See

United States v. Duncan, 400 F.3d 1297, 1305 (11 th Cir. 2005).3 At least one


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           The defendant in W atts was convicted of possessing cocaine with intent to distribute
under 21 U.S.C. § 841(a)(1), but acquitted of using a firearm in the course of a drug offense
under 18 U.S.C. § 924(c). Despite acquittal on the firearms charge, the sentencing court applied
an upward adjustment under the Sentencing Guidelines upon finding, by a preponderance of the
evidence, that the defendant had possessed a firearm during the offense of conviction. W atts,
519 U.S. at 157.

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           Defendant Duncan had been convicted of a conspiracy to possess with the intent to
distribute cocaine. In a special verdict, the jury found that the conspiracy involved five kilograms
or more of cocaine, but did not involve 50 grams or more of cocaine base. At sentencing, the
district court enhanced the defendant’s sentence based, in part, on a finding that some of the
cocaine powder had been converted into over 12 kilograms of cocaine base. Duncan, 400 F.3d

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district court has also concluded that acquitted conduct may be considered at

sentencing post-Booker. See United States v. Agostini, 365 F. Supp. 2d 530

(S.D.N.Y. 2005) (“Booker did not alter the court’s ability to enhance a

defendant’s sentence on the basis of acquitted conduct.”). However, two other

district courts have determined that acquitted conduct should not be considered

because to do so would “trivialize” the jury’s verdict, see United States v.

Pimental, 367 F. Supp. 2d 143 (D. Mass. 2005), and “eviscerate” the

defendant’s Sixth Amendment right, see United States v. Coleman, 370 F. Supp.

2d 661 (D. Ohio 2005). In Pimental, the Court explained:

               [W ]hen a court considers acquitted conduct it is
               expressly considering facts that the jury verdict not only
               failed to authorize; it considers facts of which the jury
               expressly disapproved.

Pimental, 367 F. Supp. 2d at 152 (emphasis added). In this manner, the court

reasoned, consideration of acquitted conduct differs from other extra-verdict

enhancements.

               This Court respectfully disagrees with the Pimental and Coleman

decisions. The Court agrees with the holdings in Duncan and Agostini, and finds

that Booker does not preclude consideration of acquitted conduct by a

sentencing judge.


at 1304. The Eleventh Circuit held that, notwithstanding the jury’s special verdict, it was not
error for the district court to apply the enhancement upon finding that some of the cocaine was
converted into cocaine base. As long as the sentence imposed did not exceed the sentenced
authorized by the jury’s verdict, no Sixth Amendment violation occurred. Id. at 1305.

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               As discussed above, the Supreme Court’s holding in Booker

rendered the Guidelines “effectively advisory.” By making the Guidelines merely

advisory, the maximum sentence faced by a defendant becomes the statutory

maximum set forth in the United States Code. So long as the district judge does

not impose a sentence that exceeds that statutory maximum, the judge’s

traditional authority to find and consider all facts relevant to sentencing remains

intact even after Booker. The Second Circuit explained in Crosby:

               [A]lthough the Court in the Substantive Opinion
               prohibits a sentencing judge from finding any facts that
               enhanced a Guidelines sentence above the range that
               is based solely on facts found by the jury in its verdict or
               admitted by the defendant, the Court in its Remedy
               Opinion contemplates that, with the mandatory use of
               the Guidelines excised, the traditional authority of a
               sentencing judge to find all facts relevant to sentencing
               will encounter no Sixth Amendment objection. Thus,
               the sentencing judge will be entitled to find all of the
               facts that the Guidelines make relevant to the
               determination of a Guidelines sentence and all of the
               facts relevant to the determination of a non-Guidelines
               sentence.

Crosby, 397 F.3d at 112 (footnote omitted).

               In other words, post-Booker, a court retains its authority to resolve

disputed facts by a preponderance of the evidence4 and to consider those

findings in determining the defendant’s sentence. See United States v.

Gonzalez, 407 F.3d 118 (2d Cir. 2005) (stating that a judge’s authority to resolve

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         As noted, the Court applied a “clear and convincing” standard at Ferby’s original
sentence in determining whether he had engaged in acts constituting acquitted conduct.

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disputed facts by a preponderance of evidence when arriving at a Guidelines

sentence “endures post-Booker”). So long as the sentence imposed does not

exceed the statutory maximum for the offense,5 there is no Sixth Amendment

violation.

               Contrary to defendant Ferby’s argument, Booker did not hold that a

judge is precluded from considering acquitted conduct in imposing sentence.

Indeed, Justice Breyer’s remedy opinion specifically instructs judges to maintain

“a strong connection between the sentence imposed and the offender’s real

conduct . . . .” Booker, 125 S. Ct. at 757. This Court agrees with the Eleventh

Circuit’s observation that:

               Booker suggests that sentencing judges can continue
               to consider relevant acquitted conduct when applying
               the Guidelines in an advisory manner, ‘[f]or when a trial
               judge exercises his discretion to select a specific
               sentence within a defined range, the defendant has no
               right to a jury determination of the facts that the judge
               deems relevant.’

United States v. Duncan, 400 F.3d 1297, 1305 (11 th Cir. 2005) (quoting Booker,

125 S. Ct. at 750).

               By arguing that this Court lacks authority to impose a sentence

based upon acquitted conduct, defendant Ferby is essentially arguing that this

Court consider only the substantive opinion in Booker, without regard to the


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           As noted above, Ferby’s sentence of 41 months' imprisonment was well below the ten-
year statutory maximum for his offense .

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remedy opinion. However, the remedy opinion in Booker specifically instructed

that both holdings should be applied to cases on direct review. See Booker, 125

S. Ct. at 769. Taken as a whole, Booker does not preclude a judge from

increasing a defendant’s sentence based upon facts not found by the jury. It

merely prohibits the enhancements from being mandatory. When both parts of

Booker are read together, the only error that occurred in this case was this

Court’s mandatory application of the Sentencing Guidelines. Because the Court

would have imposed the same sentence even if the Guidelines had been merely

advisory at the time of Ferby’s initial sentencing, resentencing is not required.




                                   CONCLUSION

             For the reasons stated, defendant Ferby’s motion for resentencing

is denied.




             IT IS SO ORDERED.
                                        /s/ Richard J. Arcara
                                        _______________________________
                                        HONORABLE RICHARD J. ARCARA
                                        CHIEF JUDGE
                                        UNITED STATES DISTRICT COURT

Dated: July 1   , 2005




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